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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 MISSOULA COUNTY,                                     CV 20–144–M–DLC

                      Plaintiff,

 vs.                                                         ORDER

 STATES SELF-INSURERS RISK
 RETENTION GROUP, INC.,

                       Defendant.


       Before the Court is the Defendant’s Motion for Pro Hac Vice Admission of

James E. Rocap, III. (Doc. 7.) Defendant moves this Court for the admission of

James E. Rocap, III pro hac vice in the above-captioned matter. (Id.) It appears

Ms. Hollar intends to act as local counsel. Mr. Rocap’s application complies with

this Court’s Local Rules governing the admission of counsel pro hac vice. L.R.

83.1(d)(3). “For the purposes of full and candid disclosure,” Mr. Rocap’s

application does delineate a prior instance in which sanctions were issued against

his firm, apparently for the disclosure of certain facts related to a settlement

conference. (Doc. 7-1 at 2.) The Court appreciates Mr. Rocap’s candor and does

not find that this incident should impede his request for pro hac vice admission in

this case.



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      Accordingly, IT IS ORDERED that the motion (Doc. 7) is GRANTED on

the condition that he does his own work. This means that Mr. Rocap must: (1) do

his own writing; (2) sign his own pleadings, motions, and briefs; and (3) appear

and participate personally. Mr. Rocap shall take steps to register in the Court’s

electronic filing system (CM-ECF). Further information is available on the

Court’s website, www.mtd.uscourts.gov, or from the Clerk’s Office.

      IT IS FURTHER ORDERED that this Order is subject to withdrawal unless

Mr. Rocap files a separate pleading acknowledging his admission under the terms

set forth above within fifteen (15) days of this Order.

      DATED this 11th day of January, 2021.




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